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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CHRISTINA CASTANEDA,

      Plaintiff,                                   Case No. 1:21-cv-03074

 v.                                                Honorable Judge John Robert Blakey

 NATIONAL DEALER SERVICES, LLC
 A/K/A NATIONAL DEALER
 PROTECTION,

      Defendant.

                          NOTICE OF VOLUNTARY DISMISSAL

        Plaintiff, CHRISTINA CASTANEDA, hereby dismisses her claims against Defendant,

NATIONAL DEALER SERVICES, LLC A/K/A NATIONAL DEALER PROTECTION,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), without prejudice.

Dated: November 3, 2021                                      Respectfully submitted,

                                                             CHRISTINA CASTANEDA

                                                             By: /s/ Mohammed O. Badwan

                                                             Mohammed O. Badwan
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